                        Case 4:21-cv-02155-YGR        Document 645   Filed 12/20/23   Page 1 of 2



                    1   COOLEY LLP                                 COOLEY LLP
                        MICHAEL G. RHODES (SBN 116127)             ROBBY L.R. SALDAÑA (DC No. 1034981)
                    2   (rhodesmg@cooley.com)                      (rsaldana@cooley.com)
                        WHITTY SOMVICHIAN (SBN 194463)             (Admitted pro hac vice)
                    3   (wsomvichian@cooley.com)                   KHARY J. ANDERSON (DC No. 1671197)
                        AARTI REDDY (SBN 274889)                   (kjanderson@cooley.com)
                    4   (areddy@cooley.com)                        (Admitted pro hac vice)
                        REECE TREVOR (SBN 316685)                  1299 Pennsylvania Avenue, NW, Suite 700
                    5   (rtrevor@cooley.com)                       Washington, DC 20004-2400
                        ANUPAM DHILLON (SBN 324746)                Telephone: +1 202 842 7800
                    6   (adhillon@cooley.com)                      Facsimile:    +1 202 842 7899
                        ELIZABETH SANCHEZ SANTIAGO
                    7   (SBN 333789) (lsanchezsantiago@cooley.com)
                        3 Embarcadero Center, 20th Floor
                    8   San Francisco, CA 94111-4004
                        Telephone:    +1 415 693 2000
                    9   Facsimile:    +1 415 693 2222
                   10   Attorneys for Defendant
                        GOOGLE LLC
                   11
                                                   UNITED STATES DISTRICT COURT
                   12
                                                  NORTHERN DISTRICT OF CALIFORNIA
                   13
                                                           OAKLAND DIVISION
                   14

                   15
                        In re Google RTB Consumer Privacy            Master File No. 4:21-cv-02155-YGR-VKD
                   16   Litigation,
                                                                     DEFENDANT GOOGLE LLC’S MOTION TO
                   17                                                REMOVE INCORRECTLY FILED
                                                                     DOCUMENTS (ECF NOS. 617, 617-1, 617-3,
                   18   This Document Relates to: all actions        617-5, 617-6)

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                    GOOGLE’S MOTION TO REMOVE
 SAN FRANCISCO                                                                     INCORRECTLY FILED DOCUMENTS
                                                                                 CASE NO. 4:21-CV-02155-YGR-VKD
                        Case 4:21-cv-02155-YGR              Document 645          Filed 12/20/23     Page 2 of 2



                    1               Defendant Google LLC (“Google”) submits this Motion to Remove Incorrectly Filed

                    2   Documents to remove from the dockets the following documents (“Plaintiffs’ Filings”):

                    3                     Plaintiffs’ Reply in Support of Motion for Class Certification (ECF No. 617)
                    4                     Reply Declaration of Elizabeth C. Pritzker In Support of Plaintiffs’ Motion for
                    5                      Class Certification (ECF No. 617-1)
                    6                     Expert Class Certification Rebuttal Report of Professor Zubair Shafiq (ECF No.
                    7                      617-3)
                    8                     Expert Class Certification Rebuttal Report of Professor Robert Zeithammer (ECF
                    9                      No. 617-5)
                   10                     Expert Class Certification Rebuttal Report of Greg J. Regan (ECF No. 617-6)
                   11               After Plaintiffs’ filing of the docket entries listed above, Google discovered that certain

                   12   confidential information was left unredacted. Google has filed corrected versions of Plaintiffs’ Filings

                   13   with proposed redactions in connection with its Response to Plaintiffs’ Administrative Motion to

                   14   Consider Whether Another Party’s Materials Should be Sealed (“Google’s Response”) (ECF No. 643).

                   15   As explained in Google’s Response, the information sought to be redacted contains highly sensitive,

                   16   confidential, and proprietary business information that could affect Google’s competitive standing and

                   17   may expose Google to increased security risks, including cybersecurity threats, if publicly disclosed.

                   18   Accordingly, Google respectfully requests that Plaintiffs’ Filings be permanently deleted from the

                   19   docket and replaced with the redacted versions attached to Google’s Response.

                   20

                   21   Dated: December 20, 2023                                 COOLEY LLP
                   22

                   23                                                            By: /s/ Whitty Somvichian
                                                                                     Whitty Somvichian
                   24
                                                                                 Attorney for Defendant
                   25                                                            GOOGLE LLC
                   26

                   27

                   28   295787484
COOLEY LLP
ATTORNEYS AT LAW                                                                                  GOOGLE’S MOTION TO REMOVE
 SAN FRANCISCO                                                               2                   INCORRECTLY FILED DOCUMENTS
                                                                                               CASE NO. 4:21-CV-02155-YGR-VKD
